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IN THE UNITED STATES DISTRICT COURT

FOR THE NORTHERN DISTRICT OF TEXAS

 

     

FORT WORTH DIVISION
UNITED STATES OF AMERICA
v. 4:21-MI- 240 “A AT
SETH AARON PENDLEY (01)
GOVERNMENT'S MOTION FOR PRETRIAL DETEN q oN” j TS ast i TCOCE poe “
The United States moves for pretrial detention of the defendant pursuant to 18 U.S.C. §§ 3 144 O ante ENS : j BD OF TEXAS

1. Eligibility of Case: This case is eligible for a detention order because the case ihvolves:

 

 

O Crime of violence [18 U.S.C. § 3156]
() —— Maximum sentence of LIFE imprisonment or death APR ~9 2024
oO Controlled Substance offense punishable by 10 or more years
a Felony with 2 prior convictions in above categories
Felony involving a minor victim TTT TCE ee
4 Felony involving the possession or use of a firearm, destructive device, or other d getup cap S. DISTRICT COURT
L] _ Felony involving a failure to register under 18 U.S.C. § 2250 y ————_
bs Serious risk that the Defendant will flee Xepury

Serious risk that Defendant will obstruct justice

2. Reason for Detention. The Court should detain the Defendant because there are no conditions of release which
would reasonably assure:
Defendant's appearance as required
The safety of the community
The safety of another person

ORR

3. The United States will invoke the rebuttable presumption against the Defendant because: there is probable cause to
believe that the Defendant has committed:

A Controlled Substance Offense punishable by 10 or more years imprisonment

A firearms offense under Title 18, United States Code, Section 924(c)

A federal crime of terrorism punishable by 10 or more years imprisonment

A Felony -listed in 18 U.S.C. § 3142(e) - involving a minor victim

A Felony involving a failure to register under 18 U.S.C. § 2250

The Defendant has previously been convicted of an offense described in 18 USC 3142(f)(1) which was committed
while the Defendant was released on bond pending trial for any offense and less than 5 years have elapsed since the
latter of the defendant’s conviction or date of release from imprisonment for such conviction..

OOOROO

4. Time for Detention Hearing. The United States requests the Court to conduct the detention hearing
C1 sat the Defendant's first appearance Bd = After a continuance of _3 _ days.

Respectfully submitted,

PRERAK SHAH

SM LE.. ATTORNEY
LAV

ROBERT J. BOUDREAU \___
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CERTIFICATE OF SERVICE

 

I certify that a true and correct copy of the above pleading was this day served upon the Defendant or his counsel of
record in accordance with the provisions of Rule 49 of the Federal Rules of Crimin edure.

April 4,202
DATE \ ROBERT J. BOUDREAU

Assistant United States Attorney

   
  

 

 
